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                        IN     THE I'NXTED SIATES        DISTRICT       COURT
                                                                                U. S DISTRICT
                                                                                             COURT
                                       DTSTRTCT OF GEORGTASOUIhETN
                       FOR THE SOTXTHERN                             NiSiN.C'"";;;.'
                                                                r ed in Office
                                SAVANNAH DTVISION       *--=,-<



THE UNTTED STATES OF AMERICA,                                  )
                                                               )
                       Plaintiff,                              )
                                                               )
                        v.                                     ) 4:17CR112
                                                               )
DAVID     SHYROCK,                                             )
                                                               )
                       Defendant.                              )




                                              ORDER




        Counsel    in        the    above-captioned           case   have   advised     the      CourE

that    aII   preEriaf         motions     have been complied          wiEh and/or        that     all

matters       raised      in       the   partiqs'      moEions       have   been      resolved      by

agreement,      Therefore,           a hearing      in this    case is deemed unnecessary.




        so oRDERED.tnrt 2dfr                  day of December,2017.




                                               UNITED S
                                               SOUTHERN D I S T R I C T     OF GEORGIA
